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                     EXHIBIT E
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From:                             Meredith Schultz <mschultz@BSFLLP.com>
Sent:                             Wednesday, July 20, 2016 11:24 AM
To:                               Laura Menninger
Cc:                               Sigrid McCawley; Jeff Pagliuca; Brad Edwards; Paul Cassell (cassellp@law.utah.edu)
Subject:                          RE: Conferral regarding forensic search

Follow Up Flag:                   Follow Up
Flag Status:                      Flagged


Laura,

Please see my additions in-line, in black, below to your email sent yesterday. My in-line communication should
also be responsive to the email that you just sent. If I have left anything out, please let me know.

Thanks,

Meredith

Meredith L. Schultz
BOIES, SCHILLER & FLEXNER LLP
401 East Las Olas Blvd., Suite 1200
Fort Lauderdale, FL 33301
Phone: 954-356-0011 ext. 4204
Fax: 954-356-0022
http://www.bsfllp.com

From: Laura Menninger [mailto:lmenninger@hmflaw.com]
Sent: Tuesday, July 19, 2016 1:33 PM
To: Meredith Schultz
Subject: RE: Giuffre - Conferral regarding search terms

Meredith:

I write to confirm our oral conferral. Please let me know if you disagree with the following or if there is some
other agreement you think we reached:

   1. I will endeavor to have my client gain access to an earthlink account that you believe is hers. Your basis for that
        belief is a disk you produced last week, obtained pursuant to a FOIA request, that contained at Page 2035 an
        address book from approximately 2005 which has that earthlink account name next to Ms. Maxwell’s name.
        Please advise of the processes you are undertaking to access the account, and the process you undertook to
        ascertain that the mindspring account no longer exists.




                                                                                      -
   2. Terramar – You have withdrawn that as a standalone search term. I have represented to you that we have
       searched all Terramar emails for otherwise responsive documents as well as       .

   3. Witness names – You believe that search terms 124-341, which are witness names broken up into first and last
       names from your Rule 26 list, relate to your RFP number 5 (“All documents relating to massages…”). I
       represented to you that I have searched for the terms “massage,” “masseur,” “therapy” etc. as you requested,
                                                             1
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            but you would still like me to search a subset of 124-341 surnames names for all communications with certain
            witnesses that you believe relate to “massages.” I said I would look at your list, when you send it, and evaluate
            whether we still object to running those more limited names to see if there are any communications that “relate
            to massages.” I still object that the search terms involving names is too broad and burdensome for me to have
            to review all communications with those individuals to try to discern what you believe may or may not relate to
            a “massage.”

I disagree with your objection that reviewing (and producing relevant) documents containing these discrete
surnames is too broad a request or overly burdensome, particularly, as you have not presented any numbers of
documents associated with those names, since you have not yet run the terms. Should one of the names
somehow yield thousands of documents, please let me know, and I’m certain we can come to an agreement to
adjust the term so as to not yield an unmanageable result. As it is, I would expect these discrete surnames to
yield a reasonable number of “hits,” as most are not common words (more on that below).

Per our conversation, there are a number of individuals who we have reason to believe were either:

(1) victims of the “massages;”
(2) witnesses the “massages” (including people who have knowledge of the “massages”); or
(3) perpetrators of the “massages,” either by having a “massage” themselves, arranging for another to have a
“massage,” or by arranging for a girl to give a “massage” (either directly or through another girl).

The following are surnames of the aforementioned individuals, all of which are taken from the parties’ Rule 26
disclosures. Individuals who possess the same last name will be represented once by the common name. Names
enumerated in Plaintiff’s individual requests are absent from this list pursuant to your representation that those
names have been run. The vast majority of the surnames are fairly uncommon (e.g.,                      ), therefore, I

those surnames are more common, or have other meanings (e.g.,
                                                                         -
assume from the outset that any “hits” they yield will relate to the individual, and be limited in number. For
                                                                               ), I have noted the full name for
ease of reference. For those names, please use a reasonable, good-faith syntax to capture communications with
those individuals --                                   Sometimes that takes some trial-and-error – I’m happy to
be of any assistance with regard to that process. Please let me know what your syntax you ended up using for
those terms.

    xAlessi



    --
    xBiddle
    Jane Doe 2




    xBrunel

    xCasey (this is a sur-name to Caroly Casey)
    xChambers
    xCordero
    xCotrin
    xCousteau
    xDavies
    xDeGeorgieou
    xDionne



    -
    xDubin
    Jane Doe 2




    xEspinoza
    xFarmer
    xWard
    xFekkai
                                                                2
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xFigueroa
xFontanilla
xFriedman
xGibson-Butte
xGramza
xGany
xGrant



-
xGroff
Jane Doe 2




xHazel (surname of Claire Hazel)
xHarrison (surname of Shelley Harrison)



-
xIgnatieva
Jane Doe 2




xKovylina
Jane Doe 2


Jane Doe 2




xLiffman
xLopez (surname of Cindy Lopez)
xLutz
xLynch (surname of Cheri Lynch)
xMeister
xMellawa
xMinsky
xMitrovich
             J




-            I
xMullen
xPagano
xPaluga
xPeadon
xPritzker
xPreece
xRabuyo
xRizzo
xRobson
xRoss (surname of Adriana)
xMucinska (former surname of Adriana)
xSjoberg
xSpamm



-
xStein (surname of Cecilia)

xValdes (surname of Cresenda)
xVazquez
xValenzuela
xVisosky
xWexner
xWild (surname of Courtney)
xZinoview


4. Lawyer names – You have withdrawn.
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   5. Common words – You have withdrawn with the exception of “lingerie,” which I will run to see if it relates in some
       way to RFP 5 (“massages”).

   6. Other words –
           a. You have withdrawn #93 Abernathy and #94 Brillo.
           b. I maintain my objection to Guggenheim, the name of a museum which you represented to me pertains in
                some way to allegations made by witnesses Farmer, but for which no documents or other information
                has been shared (i.e., I have never seen any allegations by witnesses Farmer). Because there is no RFP to
                which I believe that term relates, and it is the name of a museum, I object to running that search term.
           c. Gerbil – You have withdrawn.

   7. Additionally:
            a. I advised you that I was not able to search for
                                                              -                because those letters are the first part of my
                  client’s longstanding email address, and search for that term will yield literally every single email she has
                  sent or received. I believe you have withdrawn that requested search term.
            b. I advised you that I was not able to search for initials at #16-21 and 75-77. To the extent those initials
                  represent people from whom you have requested all communications (and which the Court has limited
                  to 1999-2002 and post-2002 as they relate to sex trafficking), for example, Jeffrey Epstein, Prince
                  Andrew, I am searching for and producing responsive documents, so there is no need to search for the

                                         ■                         -
                  initials. With regards to , you told me that is “             and there is no standalone request for
                  communications with her.


-Laura

Additionally, please inform me what steps you have taken to ascertain that the                    is no longer
in existence. Similarly, please keep me informed of your steps to access the                  Please pursue all
available avenues to access those accounts, as Ms. Giuffre did with regard to her email accounts.

Finally, Ms. Maxwell’s produced documents that indicate that she has an iPad, etc. Please confirm that you
have imaged her iPad as well as her phone in order to obtain the data from both (text messages, etc.).

One last thing - it occurred to me that in our discussion of terms that were run/not run and to be run/and not to
be run, I don’t believe we discussed the terms containing individuals’ email account addresses, specifically Mr.
Epstein and Mr. Dershowitz. (If we did discuss that, apologies for my lack of memory). Please confirm that you
have run the terms associated with their email addresses. Specifically, these were the terms:

1) jeevacation*
2) j* w/2 *jep*
3) j* w/2 *jeep*
4) dersh*
5) law.harvard.edu*
6) alandersh*

Please let me know if you have any questions. Please treat this email as confidential under the Protective Order
as it contains the names of underage victims of sexual abuse.

Thank you,


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Meredith




Meredith L. Schultz
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Fax: 954-356-0022
http://www.bsfllp.com

From: Laura Menninger [mailto:lmenninger@hmflaw.com]
Sent: Wednesday, July 20, 2016 1:01 PM
To: Meredith Schultz
Cc: Sigrid McCawley; Jeff Pagliuca; Brad Edwards; Paul Cassell (cassellp@law.utah.edu)
Subject: Conferral regarding forensic search

Meredith –

Apart from (i) the list of witness names you believe might be associated with the term “massage” (“massage”



-
and related terms that you requested have been searched), (ii) the word “lingerie”, and (iii)
         we have completed the forensic copy, search, retrieval and review of all hits on our client’s devices
and email accounts as directed by the Court based on agreed to search terms, including those agreed to in our
conferral yesterday.

After review of more than 9,000 documents and files containing your search terms, the only documents located
not previously produced are 6 privileged documents which we will add to our log. We also located a number of
privileged communications between our client and myself following the onset of litigation in this case which
will not be logged consistent with both parties' agreed to practice. As predicted, no responsive non-privileged
documents resulted from the exercise.

I will keep you apprised of the results of the “lingerie” and status of ability to access the
account. If you want me to consider running additional witness names because you believe those people may
relate to RFP 5 regarding “massages”, please forward those names to me and your basis.

-Laura


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